                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                      )
                                              )
v.                                            )          No. 3:11-00194
                                              )          JUDGE CAMPBELL
MAURICE ROGER THOMPSON                        )


                                          ORDER

       Pending before the Court is a Motion To Appeal The Detention Hearing With

Incorporated Memorandum Of Law (Docket No. 867), filed by Defendant Maurice Roger

Thompson, pro se. The Motion is DENIED, without prejudice to being re-filed by counsel for

Defendant Thompson.

       It is so ORDERED.



                                                  TODD J. CAMPBELL
                                                  UNITED STATES DISTRICT JUDGE




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